  Case 3:17-cv-02942-X Document 138 Filed 03/06/20                 Page 1 of 2 PageID 5252



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISON

 SARAH LINDSLEY, on behalf of herself            §
 and all others similarly situated,              §
                                                 §
        Plaintiff,                               §    CIVIL ACTION NO. 3:17-cv-02942-C
 v.                                              §
                                                 §
 TRT HOLDINGS, INC. and OMNI                     §          JURY TRIAL DEMANDED
 HOTELS MANAGEMENT                               §
 CORPORATION,                                    §
                                                 §
        Defendants.                              §




                        PLAINTIFF’S NOTICE OF APPEAL




       Notice is given that the Plaintiff, Sarah Lindsley, hereby appeals to the Fifth Circuit Court

of Appeals from the Memorandum Opinion and Order issued on December 2, 2019 and the Order

issued on February 7, 2020, both entered as a final judgment by the Northern District of Texas

Dallas Division Court on February 7, 2020, granting both Defendants’ TRT Holdings, Inc. and

Omni Hotels Management Corp., Motion for Summary Judgment and dismissal of this action with

prejudice.
 Case 3:17-cv-02942-X Document 138 Filed 03/06/20    Page 2 of 2 PageID 5253



Dated: March 6, 2020                    Respectfully submitted,

                                        /s/ Jay D. Ellwanger
                                        Jay D. Ellwanger
                                        Texas State Bar No. 24036522
                                        jellwanger@equalrights.law
                                        Ellwanger Law LLLP
                                        400 South Zang Boulevard
                                        Suite 1015
                                        Dallas, Texas 75208
                                        Telephone: (737) 808-2260
                                        Facsimile: (737) 808-2262


                                        James A. Vagnini (admitted pro hac vice)
                                        N.Y. State Bar No. 2958130
                                        jvagnini@vkvlawyers.com
                                        Monica Hincken (admitted pro hac vice)
                                        N.Y. State Bar No. 5351804
                                        mhincken@vkvlawyers.com
                                        Valli Kane &Vagnini, LLP
                                        600 Old Country Road, Suite 519
                                        Garden City, New York 11530
                                        Telephone: (516) 203-7180
                                        Facsimile: (516) 706-0248

                                        COUNSEL FOR PLAINTIFF
